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                                                                                                                                       Sep 29 2005
                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 05-80781-CIV-MIDDLEBROOKS/Johnson


           JOHN J. BOSWELL,

                   Plaintiff,

           v.

           JEFFREY D. FISHER and
           FISHER & BENDECK, P.A.

                   Defendants.
                                                   /


                  DEFENDANTS, JEFFREY D. FISHER’s and FISHER & BENDECK, P.A.’s,
                             ANSWER AND AFFIRMATIVE DEFENSES

                   COME NOW the Defendants, JEFFREY D. FISHER and FISHER & BENDECK,

           P.A., by and through undersigned counsel, and for their Answer and Affirmative Defenses

           state as follows:

                                                                      ANSWER

                                                       JURISDICTION AND VENUE

                   1.         Defendants admit jurisdiction; however, Defendants deny that Plaintiff is

           entitled to relief.

                                                                      PARTIES

                   2.         Defendants are without knowledge as to the allegations contained within

           paragraph 2 of Plaintiff’s Complaint and, therefore, deny same and demand strict proof

           thereof.

                   3.         Defendants admit the allegations contained within paragraph 3 of Plaintiff’s

           Complaint.



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                 4.         Defendants admit the allegations contained within paragraph 4 of Plaintiff’s

           Complaint.

                 5.         Defendants deny the allegations contained within paragraph 5 of Plaintiff’s

           Complaint and demand strict proof thereof.

                                                                      FACTS

                 6.         Defendants admit the allegations contained within paragraph 6 of Plaintiff’s

           Complaint.

                 7.         Defendants deny the allegations contained within paragraph 7 of Plaintiff’s

           Complaint and demand strict proof thereof.

                 8.         Defendants deny the allegations contained within paragraph 8 of Plaintiff’s

           Complaint and demand strict proof thereof.

                 9.         Defendants deny the allegations contained within paragraph 9 of Plaintiff’s

           Complaint and demand strict proof thereof.

                 10.        Defendants deny the allegations contained within paragraph 10 of Plaintiff’s

           Complaint and demand strict proof thereof.

                                                          RELIEF REQUESTED

                 11.        Defendants deny the allegations contained within paragraph 11 of Plaintiff’s

           Complaint and demand strict proof thereof.

                 12.        Defendants deny the allegations contained within paragraph 12 of Plaintiff’s

           Complaint and demand strict proof thereof.

                 13.        Defendants deny the allegations contained within paragraph 13 of Plaintiff’s

           Complaint and demand strict proof thereof.

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                  14.        Defendants deny the allegations contained within paragraph 14 of Plaintiff’s

           Complaint and demand strict proof thereof.

                  15.        Defendants deny the allegations contained within paragraph 15 of Plaintiff’s

           Complaint and demand strict proof thereof.

                  16.        Defendants deny the allegations contained within paragraph 16 of Plaintiff’s

           Complaint and demand strict proof thereof.

                                                       AFFIRMATIVE DEFENSES

                  1.         The Defendants represented Tiffany Boswell, the ex-wife of the Plaintiff, in

           a marital dissolution action against the Plaintiff. The allegations in Plaintiff’s Complaint

           stem from judicial proceedings in the marital dissolution action. The tape recordings

           referenced in Paragraphs 7, 8, 9, and 10 of Plaintiff’s Complaint were recorded by the

           Plaintiff himself, not these Defendants. The contents of these recordings directly relate to

           issues in the marital dissolution action against the Plaintiff.

                  2.         Defendants affirmatively state that, since the recording tapes referenced in

           Paragraphs 7, 8, 9, and 10 of Plaintiff’s Complaint were recorded by Plaintiff, pursuant to

           18 U.S.C § 2511(2)(d), the recorded tapes were not generated and/or obtained in violation

           of 18 U.S.C § 2511.

                  3.         Defendants affirmatively state that they did not violate 18. U.S.C. § 2511

           (1)(d), as they did not intentionally use or endeavor to use the recording tapes referenced

           in Paragraphs 7, 8, 9, and 10 of Plaintiff’s Complaint, knowing, or having reason to know,

           that the recording tapes were allegedly obtained unlawfully under 18 U.S.C § 2511.




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                      4.         Defendants affirmatively state that any claims with respect to the alleged use

           of recording tapes during the deposition questioning of Plaintiff are barred, as the alleged

           actions of Defendants occurred during a judicial proceeding and are absolutely privileged.

                      5.         Defendants affirmatively state that any claims with respect to the alleged use

           of recording tapes during the deposition questioning of Plaintiff are barred by Defendants’

           qualified privilege.

                      6.         Defendants affirmatively state that any claims with respect to the alleged use

           of recording tapes during the deposition questioning of Plaintiff are barred as the

           Defendants acted in good faith.

                      7.         After the Plaintiff’s alleged claim in this action accrued, the Plaintiff released

           these Defendants. More specifically, Plaintiff released among others, Ms. Tiffany Boswell

           and her agents, which as a matter of law, would serve to include these Defendants.

                      8.         Defendants affirmatively state that the Plaintiff’s claims are barred in whole

           or in part by the doctrines of estoppel and unclean hands.

                      9.         Defendants affirmatively state that the Plaintiff is not entitled to damages or

           relief for “the loss of affection of his children” under 18 U.S.C § 2511 and 18 U.S.C § 2520.

                      10.        Defendants affirmatively state that the contents of the recording tapes

           referenced in Paragraphs 7, 8, 9 and 10 of Plaintiff’s Complaint were already public

           information and common knowledge, and accordingly, were not prohibited.

                      11.        Defendants affirmatively state that the Plaintiff has failed to mitigate his

           damages, and any such recovery should be proportionately reduced as a result of this

           failure.


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                          Defendants reserve the right to amend and/or assert additional Affirmative

           Defenses as discovery proceeds.

                                                     CERTIFICATE OF SERVICE

                   WE HEREBY CERTIFY that a true and correct copy of the foregoing was furnished

           via U.S. mail this 29th day of September, 2005, to: Lawrence M. Burrell, Jr., Esq.,

           Lawrence M. Burrell, Jr., PA, 2880 SE Downwinds Road, Jupiter, FL 33478.

                                                                      COLE, SCOTT & KISSANE, P.A.
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                                                                      By:        s/Gene P. Kissane
                                                                                 GENE P. KISSANE
                                                                                 FBN: 842000
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